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Fill in this information to identify the case:

Debtor Name Free Speech Systems LLC


United States Bankruptcy Court for the: Southern District of Texas


Case number: 22-60043
                                                                                                                             D Check if this is an
              ---------                                                                                                         amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                                       12/17

Month:                March 2024                                                                       Date report filed :    04/19/2024
                                                                                                                              MM/ DD/YYYY

Line of business: Dietary Supplement Sales                                                             NAISC code:            325411

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           J Patrick Magill

Original signature of responsible party                        1 t¾tt•c¼ &~oa: C,(Ion
                                                           J. Patrick Magill (Apr 20, 2024

Printed name of responsible party            J Patrick Magill


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                                   Yes       No       N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                              Gif       □        □
    2.   Do you plan to continue to operate the business next month?                                                               ~         □        □

    3.   Have you paid all of your bills on time? (Note: Subject to the Constraints of the Cash Collateral Budget)                 ~         □        □

    4.   Did you pay your employees on time?                                                                                       ~         □        □

    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                           ~         □        □
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                        Gif       □        □

    7.   Have you timely filed all other required government filings?                                                              Gif       □        □

    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                           □         □        Gif
    9.   Have you timely paid all of your insurance premiums?                                                                      ~         □        □

         If xou answer Yes to anx of the guestions in lines 10-18, attach an exelanation and label it Exhibit B.

    10. Do you have any bank accounts open other than the DIP accounts?                                                            □         [if      □

    11. Have you sold any assets other than inventory?                                                                             □         Gif      □

    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?••• NOTE 1 •••        □         [if      □

    13. Did any insurance company cancel your policy?                                                                              □         [if      □

    14. Did you have any unusual or significant unanticipated expenses?                                                            □         [if      □

    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                        □         [if      □

    16. Has anyone made an investment in your business?                                                                            □         [if      □

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Debtor Name   Free Speech Systems LLC                                                    Case number 22-60043




    17. Have you paid any bills you owed before you filed bankruptcy?                                                     □             □

    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                       □             □
                 ••• NOTE 1 ••• We provide consignment sales services to PQPR and ESG



              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                            $ 2,395,249.(
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
         Report the total from Exhibit C here.                                                          $ 2,251,365.(

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.                                                                          - $ 1,916,478.(
         Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         + $334,887.00
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                         = $ 3, 129,374.(
         Report this figure as the cash on hand at the beginning of the month on your next operating report.
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.




              3. Unpaid Bills

        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                      $868,148.89
               (Exhibit E)




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Debtor Name   Free Speech Systems LLC                                                               Case number 22-60043




              4. Money Owed to You

        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold . Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                  $ 822,730.43
               (Exhibit F)      Note - In the interest of clarity, this does not include approximately $800,000 that debtors processor is withholding
                                as a reserve, which funds would have otherwise been collected in 212024.



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                                        54

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                                        44




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                           $ 179,227.16

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                              $ 2,172,103.C

    30. How much have you paid this month in other professional fees?                                                                      $      8,722.68

    31. How much have you paid in total other professional fees since filing the case?                                                     $ 826,686.00
       Note: Line 28. and 29.includes Fess for Sub V Trustee, Trustee Counsel and FSS Bankruptcy Counsel, while Line 30. and 31.
       includes Attorneys Fees, Accounting Fees and Tax Preparation Fees


              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                             Column A                           Column B                         Column C
                                             Projected                          Actual                      =    Difference

                                             Copy lines 35-37 from              Copy lines 20-22 of              Subtract Column B
                                             the previous month's               this report.                     from Column A.
                                             report.

    32. Cash receipts
                                             $2,877,919.C                       $ 2,251,365.C              = $ -626,584.0(
    33. Cash disbursements
                                             $ 2,578,428.C                      $ 1,916,478.C              = $ 661,950.00
    34. Net cash flow
                                             $ 299,491 .00              1- 1$ 334,887.00                  I= I $ 35,366.00
    35. Total projected cash receipts for the next month:                     Note: It appears the difference between projected and         $ 2, 780,958.C
                                                                              actual cash receipts is attributable to reduced air-time
    36. Total projected cash disbursements for the next month:                promotions                                                  - $ 2, 771,666.C

    37. Total projected net cash flow for the next month:                                                                                          9,292.00




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Debtor Name   Free Speech Systems LLC                                                  Case number 22-60043




              8. Additional Information

    If available, check the box to the left and attach copies of the following documents.

    ~    38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    [ii' 39. Bank reconciliation reports for each account.

    D    40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

    D    41. Budget, projection, or forecast reports.

    D    42. Project, job costing, or work-in-progress reports.




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 FREE SPEECH SYSTEMS

FORM 425C Exhibit C
Cash Receipts - February 2024



FORM 425C Exhibit C
Cash Receipts - March 2024



           Cadence Bank Deposits Account

              Description                               Total Amount

              Credit Card Receipts - lnfoWars Store      2,191,920.67
              Cash/ Check Receipts - lnfoWars Store            132.43
              AD Revenue - Twitter                             648.89
              Promotional Payments - My Pillow               5,315.47
              Promotional Payments - Rehoboth Medical        6,692.97
              Promotional Payments - Jones Video Game       37,870.00
                                                         2,242,580.43



           Cadence Bank Operations Account

              Description                               Total Amount

              Cash/ Check Receipts - lnfoWars Store          4,524.41
                                                             4,524.41



           Cadence Bank Donations Account

              Description                               Total Amount

               Unsolicited Donations - Cash/Check            4,259.83
                                                             4,259.83



                    TOTAL CASH RECEIPTS                  2,251,364.67
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  FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


           Date                                          Payee                                                       Description                                Amount

           Date                                          Payee                                                       Description                                Amount


Cadence Bank Operations Account


             3/1/2024 ADDSHOPPERSINC 3383693141 WEBPAYMENT WEB                           Online Store:Software Licenses 03/01/2024 $2,989.00                     $2,989.00
             3/1/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/01/2024 $62.77               $62.77
             3/1/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/01/2024 $57 .36              $57.36
             3/1/2024 ENVATO 61383766284 UT                                              Production:lnternet /Streaming/ Bandwidth 03/01/2024 $42.22                $42.22
             3/1/2024 GoDaddy.com                                                        Production:lnternet /Streaming/ Bandwidth 03/01/2024 $204.54              $204.54
             3/1/2024 MURF.AI SALT LAKE CIT UT                                           Production:lmages /Software/ Licenses 03/01/2024 $78.00                    $78.00
             3/4/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $480.63             $480.63
             3/4/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $357.20             $357.20
             3/4/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $111. 71            $111.71
             3/4/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $85.21               $85.21
             3/4/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $27 .04              $27.04
             3/4/2024 CLOUDFLARE SAN FRANCISCO CA                                        Production:lnternet /Streaming/ Bandwidth 03/04/2024 $174.60              $174.60
             3/4/2024 CLOUDFLARE SAN FRANCISCO CA                                        Production:lnternet /Streaming/ Bandwidth 03/04/2024 $9.77                  $9.77
             3/4/2024 DirecTV                                                            Production:lnternet /Streaming/ Bandwidth 03/04/2024 $221.00              $221.00
             3/4/2024 H-E-B                                                              Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $133.83             $133.83
             3/4/2024 H-E-B #373 ROUND ROCK TX                                           Facilities:Office Supplies/ Printing/ Copy 03/04/2024 $294.68             $294.68
             3/4/2024 LATHEM TIME CORP 25805224711439874 PAYMENT PPD                     Production:lmages /Software/ Licenses 03/04/2024 $134.32                  $134.32
             3/4/2024 MONGODBCLOUD ITS PALO ALTO CA                                      Production:lmages /Software/ Licenses 03/04/2024 $3,611.20              $3,611.20
             3/4/2024 Restream, Inc.                                                     Production:lnternet /Streaming/ Bandwidth 03/04/2024 $49.00                $49.00
             3/4/2024 Rev Unauthorized Ach                                               Deposit: Expenses - Online Store:Software Licenses 03/04/2024 $2,9E     ($2,989.00)
             3/4/2024 The Hartford                                                       Administrative:lnsurance:Property & Liability Insurance 03/04/2024 ~    $2,808.00
             3/4/2024 VULTR BY CONSTAN VULTR.COM NJ                                      Personnel Expenses:Consulting 03/04/2024 $255.84                          $255.84
             3/4/2024 ZOOM.US 888-799- SAN JOSE CA                                       Facilities:Telecommunications 03/04/2024 $159.48                          $159.48
             3/5/2024 ALEXANDER JONES #22-33553 DIP 043000096 PNC BANK, N.A. DIFF BOOK   Sales Settlement - Books and ESG                                       $22,072.53
             3/5/2024 ALEXANDER JONES #22-33553 DIP 043000096 PNC BANK, N.A. DIFF. BOO   Payables Clearing 03/05/2024 $89.09                                        $89.09
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 FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


         Date                                          Payee                                                        Description                               Amount

           3/5/2024 City of Austin                                                     Utilities 03/05/2024 $3,629.78                                           $3,629.78
           3/5/2024 FDCSERVERSN 3124236675 FL                                          Production:lnternet /Streaming/ Bandwidth 03/05/2024 $10.00                $10.00
           3/5/2024 FLOKINET 35314369001 DEU                                           Production:lmages /Software/ Licenses 03/05/2024 $647.09                  $647.09
           3/5/2024 FREE SPEECH OPS 1261510005 -SETT-CCACH DEP/PAY PPD                 Payables Clearing 03/05/2024 $94,227.16                                 $94,227.16
           3/5/2024 NRl*NEW RELIC 888-643-8776 CA                                      Online Store:Software Licenses 03/05/2024 $418.09                         $418.09
           3/5/2024 REYNAL LAW FIRM 113025723 STELLAR BANK LEGAL MID: 240305152036H5   Legal Fees                                                              $35,000.00
           3/6/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/06/2024 $245.81             $245.81
           3/6/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/06/2024 $85.88               $85.88
           3/6/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/06/2024 $56.05               $56.05
           3/6/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/06/2024 $38.72               $38.72
           3/6/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/06/2024 $19.37               $19.37
           3/6/2024 City of Austin                                                     Facilities:Utilities 03/06/2024 $2,926.90                                $2,926.90
           3/6/2024 Rev Unauthorized Ach                                               Deposit: Facilities:Utilities 03/06/2024 $3,629.78                      ($3,629.78)
           3/6/2024 Travelers                                                          Administrative:lnsurance:Property & Liability Insurance 03/06/2024 ~     $1,043.73
           3/6/2024 TxTag                                                              Travel:Fuel /Tolls/ Repairs 03/06/2024 $26.13                              $26.13
           3/6/2024 Wal-Mart                                                           Facilities:Office Supplies/ Printing/ Copy 03/06/2024 $21.14               $21.14
           3/7/2024 ADT 3931064579 953169174 PAYMENT PPD                               Facilities:Security (Building) 03/07/2024 $1,538.22                      $1,538.22
           3/7/2024 ADT 3931064579 953169174 PAYMENT PPD                               Facilities:Security (Building) 03/07/2024 $904.81                         $904.81
           3/7/2024 ADT 3931064579 953169174 PAYMENT PPD                               Facilities:Security (Building) 03/07/2024 $138.15                         $138.15
           3/7/2024 ADT 3931064579 953169174 PAYMENT PPD                               Facilities:Security (Building) 03/07/2024 $111.24                         $111.24
           3/7/2024 ADT 3931064579 953169174 PAYMENT PPD                               Facilities:Security (Building) 03/07/2024 $75.42                           $75.42
           3/7/2024 ADT 3931064579 953169174 PAYMENT PPD                               Facilities:Security (Building) 03/07/2024 $22.29                           $22.29
           3/7/2024 ALEXANDER JONES #22-33553 DIP 043000096 PNC BANK, N.A. S.S 03.07   Sales Settlement - Books and ESG                                        $21,257.21
           3/7/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/07/2024 $303.19             $303.19
           3/7/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/07/2024 $159.57             $159.57
           3/7/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/07/2024 $32.46               $32.46
           3/7/2024 FREE SPEECH OPS 1261510005-SETT-CCACH DEP/PAY PPD                  Payables Clearing 03/07/2024 $305,234.27                               $305,234.27
           3/7/2024 FREE SPEECH OPS 1261510005-SETT-CCACH DEP/PAY PPD                  Payables Clearing 03/07/2024 $15,177.57                                 $15,177.57
           3/7/2024 Name.com, Inc 7202492374 CO                                        Production:lmages /Software/ Licenses 03/07/2024 $303.89                  $303.89
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 FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


         Date                                             Payee                                                    Description                                Amount

           3/7/2024 Rev Unauthorized Ach                                              Deposit: Administrative:lnsurance:Property & Liability Insurance 03/C    ($1,043.73)
           3/7/2024 Rev Unauthorized Ach                                              Deposit: Facilities:Utilities 03/07/2024 $2,926.90                       ($2,926.90)
          3/11/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/11/2024 $380.95              $380.95
          3/11/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/11/2024 $87.14                $87.14
          3/11/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/11/2024 $80.94                $80.94
          3/11/2024 Atlassian                                                         Production:lmages /Software/ Licenses 03/11/2024 $85.28                     $85.28
          3/11/2024 Intuit                                                            Administrative:Accounting 03/11/2024 $213.20                               $213.20
          3/12/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/12/2024 $93.62                $93.62
          3/12/2024 ASTOUND PWRD BY 844-357-0942 TX                                   Production:lnternet /Streaming/ Bandwidth 03/12/2024 $1,300.00           $1,300.00
          3/12/2024 CLOUDFLARE SAN FRANCISCO CA                                       Production:lnternet /Streaming/ Bandwidth 03/12/2024 $82.71                 $82.71
          3/12/2024 Go Rentals                                                        Travel:Airfare/Lodging/Car Rental 03/12/2024 $3,111.77                   $3,111.77
          3/12/2024 Specialized AC Mechanical Servicess                               Production:lnternet /Streaming/ Bandwidth 03/12/2024 $1,679.46           $1,679.46
          3/12/2024 THE RANGE AT AUS AUSTIN TX                                        Administrative:Client Entertainment 03/12/2024 $1,185.25                 $1,185.25
          3/12/2024 Verizon Wireless                                                  Facilities:Telecommunications 03/12/2024 $571.59                           $571.59
          3/12/2024 Verizon Wireless                                                  Facilities:Telecommunications 03/12/2024 $496. 73                          $496.73
          3/13/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/13/2024 $89.82                $89.82
          3/13/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/13/2024 $70.33                $70.33
          3/13/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/13/2024 $53.02                $53.02
          3/13/2024 DDA CHECK                                                         Online Store:Hosting / Cloud Services 99204719 03/13/2024 $11,244.      $11,244.10
          3/13/2024 FIBER 2FzL86 Mountain View CA                                     Production:lnternet /Streaming/ Bandwidth 03/13/2024 $288.40               $288.40
          3/13/2024 H-E-B #373 ROUND ROCK TX                                          Facilities:Office Supplies/ Printing/ Copy 03/13/2024 $100.95              $100.95
          3/13/2024 Rev Unauthorized Ach                                              Deposit: Facilities:Telecommunications 03/13/2024 $496.73                 ($496.73)
          3/13/2024 Rev Unauthorized Ach                                              Deposit: Facilities:Telecommunications 03/13/2024 $571.59                 ($571.59)
          3/14/2024 ALEXANDER JONES #22-33553 DIP 043000096 PNC BANK, N.A. SS 03.14   Sales Settlement - Books and ESG                                        $20,454.28
          3/14/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/14/2024 $429.20              $429.20
          3/14/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/14/2024 $176.43              $176.43
          3/14/2024 Amazon                                                            Facilities:Office Supplies/ Printing/ Copy 03/14/2024 $10.81                $10.81
          3/14/2024 EXC CHECK (FP)                                                    Online Store:Hosting / Cloud Services 99180091 03/14/2024 $61,090.      $61,090.61
          3/14/2024 FDCSERVERSN 3124236675 FL                                         Production:lnternet /Streaming/ Bandwidth 03/14/2024 $571.19               $571.19
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 FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


         Date                                           Payee                                               Description                        Amount

          3/14/2024 FREE SPEECH OPS DEP PAY -SETT-CCACH DEP/PAY PPD            Payables Clearing 03/14/2024 $251,068.64                        $251,068.64
          3/14/2024 FREE SPEECH OPS DEP PAY -SETT-CCACH DEP/PAY PPD            Payables Clearing 03/14/2024 $55,382.50                          $55,382.50
          3/14/2024 RMA TOLL 833-762-8655 CA                                   Travel:Fuel /Tolls/ Repairs 03/14/2024 $69.78                       $69.78
          3/14/2024 SPECTRUM SPECTRUM 8306642 SPECTRUM PPD                     Production:lnternet /Streaming/ Bandwidth 03/14/2024 $131.68       $131.68
          3/15/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/15/2024 $150.47      $150.47
          3/15/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/15/2024 $31.38        $31.38
          3/15/2024 ATM 2508 E RIVERSIDE DR AUSTIN TX                          Facilities:Utilities 03/15/2024 $403.00                            $403.00
          3/15/2024 ATM 2508 E RIVERSIDE DR AUSTIN TX                          Facilities:Utilities 03/15/2024 $23.00                              $23.00
          3/15/2024 ATM FEE                                                    Administrative:Bank Service Charges & Fees 03/15/2024 $2.00           $2.00
          3/15/2024 ATM FEE                                                    Administrative:Bank Service Charges & Fees 03/15/2024 $2.00           $2.00
          3/15/2024 Backblaze, Inc.                                            Production:lnternet /Streaming/ Bandwidth 03/15/2024 $153.89       $153.89
          3/15/2024 Circle K                                                   Travel:Fuel /Tolls/ Repairs 03/15/2024 $39.11                       $39.11
          3/15/2024 City of Austin                                             Facilities:Utilities 03/15/2024 $6,322.65                         $6,322.65
          3/15/2024 NRl*NEW RELIC 888-643-8776 CA                              Online Store:Software Licenses 03/15/2024 $266.50                  $266.50
          3/15/2024 PRIMO WATER TAMPA FL                                       Facilities:Office Supplies/ Printing/ Copy 03/15/2024 $738.58      $738.58
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $301.19      $301.19
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $91. 76       $91.76
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $71.79        $71.79
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $70.04        $70.04
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $66.44        $66.44
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $39.26        $39.26
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $33.85        $33.85
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $26.76        $26.76
          3/18/2024 Amazon                                                     Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $7.24           $7.24
          3/18/2024 CHATGPT SUBSCRIP SAN FRANCISCO CA                          Production:lmages /Software/ Licenses 03/18/2024 $21.28             $21.28
          3/18/2024 FS *FREESCOUT SANTA BARBARA CA                             Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $16.23        $16.23
          3/18/2024 GoDaddy.com                                                Production:lnternet /Streaming/ Bandwidth 03/18/2024 $10.64         $10.64
          3/18/2024 Grokability, Inc.                                          Production:lmages /Software/ Licenses 03/18/2024 $39.99             $39.99
          3/18/2024 HEB ONLINE #108 855-803-0611 TX                            Facilities:Office Supplies/ Printing/ Copy 03/18/2024 $354.97      $354.97
                                    Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 10 of 30



 FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


         Date                                          Payee                                                       Description                              Amount

          3/18/2024 Host Gator                                                         Production:lnternet /Streaming/ Bandwidth 03/18/2024 $17.31              $17.31
          3/18/2024 Intuit                                                             Administrative:Accounting 03/18/2024 $109.48                            $109.48
          3/18/2024 IONOS INC. CHESTERBROOK PA                                         Online Store:Software Licenses 03/18/2024 $17.00                         $17.00
          3/18/2024 ORKIN ORKIN PEST 9399497 ORKIN PEST WEB                            Facilities:Repairs and Maintenance Building 03/18/2024 $306.34          $306.34
          3/18/2024 Rv Land                                                            Machinery, Equipment and Vehicles:Recreational Vehicle (RV) 03/181     $2,797.26
          3/18/2024 Verizon Wireless                                                   Facilities:Telecommunications 03/18/2024 $571.59                        $571.59
          3/18/2024 Verizon Wireless                                                   Facilities:Telecommunications 03/18/2024 $496. 73                       $496.73
          3/19/2024 H-E-B                                                              Facilities:Office Supplies/ Printing/ Copy 03/19/2024 $79.61             $79.61
          3/19/2024 Sam's Club                                                         Facilities:Office Supplies/ Printing/ Copy 03/19/2024 $215.35           $215.35
          3/19/2024 Twitter                                                            Advertising & Promotion:Television / Online Media 03/19/2024 $400       $400.00
          3/19/2024 www.anydesk.com Stuttgart DEU                                      Production:lmages /Software/ Licenses 03/19/2024 $680.89                $680.89
          3/20/2024 ADOBE *ADOBE 4085366000 CA                                         Production:lmages /Software/ Licenses 03/20/2024 $4,289.35             $4,289.35
          3/20/2024 ALEXANDER JONES #22-33553 DIP 043000096 PNC BANK, N.A. SS 03.20.   Sales Settlement - Books and ESG                                      $22,400.55
          3/20/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/20/2024 $54.55             $54.55
          3/20/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/20/2024 $16.23             $16.23
          3/20/2024 FDCSERVERSN 3124236675 FL                                          Production:lnternet /Streaming/ Bandwidth 03/20/2024 $545.34            $545.34
          3/20/2024 FREE SPEECH OPS DEP PAY -SETT-CCACH DEP/PAY PPD                    Payables Clearing 03/20/2024 $188,420.45                             $188,420.45
          3/20/2024 FREE SPEECH OPS DEP PAY -SETT-CCACH DEP/PAY PPD                    Payables Clearing 03/20/2024 $7,807.50                                 $7,807.50
          3/20/2024 PRIMO WATER TAMPA FL                                               Facilities:Office Supplies/ Printing/ Copy 03/20/2024 $1,627.57        $1,627.57
          3/20/2024 Sam's Club                                                         Facilities:Office Supplies/ Printing/ Copy 03/20/2024 $179.76           $179.76
          3/21/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/21/2024 $51.95             $51.95
          3/21/2024 AWIO WEB SERVICE CARY NC                                           Production:lnternet /Streaming/ Bandwidth 03/21/2024 $899.00            $899.00
          3/21/2024 CLOUDFLARE SAN FRANCISCO CA                                        Production:lnternet /Streaming/ Bandwidth 03/21/2024 $1,199.25         $1,199.25
          3/21/2024 Sam's Club                                                         Facilities:Office Supplies/ Printing/ Copy 03/21/2024 $89.78             $89.78
          3/21/2024 TST* RU DYS COUNT Austin TX                                        Travel:Travel Meals 03/21/2024 $920.67                                  $920.67
          3/22/2024 GoDaddy.com                                                        Production:lnternet /Streaming/ Bandwidth 03/22/2024 $114.67            $114.67
          3/22/2024 Iron Mountain                                                      Facilities:Shredding & Records Management 03/22/2024 $317.30            $317.30
          3/22/2024 ONLINE STORE SAL 361-816-4113 TX                                   Production:lmages /Software/ Licenses 03/22/2024 $215.43                $215.43
          3/22/2024 ONLINE STORE SAL 361-816-4113 TX                                   Production:lmages /Software/ Licenses 03/22/2024 $215.43                $215.43
                                   Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 11 of 30



 FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


         Date                                           Payee                                                      Description                             Amount

          3/22/2024 ONLINE STORE SAL 361-816-4113 TX                                   Production:lmages /Software/ Licenses 03/22/2024 $215.43               $215.43
          3/22/2024 Texas Gas Service                                                  Travel:Fuel /Tolls/ Repairs 03/22/2024 $442.51                         $442.51
          3/22/2024 TST* CABO BOBS B 512-432-1111 TX                                   Travel:Travel Meals 03/22/2024 $21.04                                   $21.04
          3/22/2024 Twitter                                                            Advertising & Promotion:Television / Online Media 03/22/2024 $400      $400.02
          3/22/2024 VERCEL PRO COVINA CA                                               Production:lmages /Software/ Licenses 03/22/2024 $40.00                 $40.00
          3/25/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $226.94          $226.94
          3/25/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $93.08            $93.08
          3/25/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $72.44            $72.44
          3/25/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $51.93            $51.93
          3/25/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $49.77            $49.77
          3/25/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $21.64            $21.64
          3/25/2024 AT&T                                                               Facilities:Telecommunications 03/25/2024 $599.51                       $599.51
          3/25/2024 GitHub                                                             Production:lmages /Software/ Licenses 03/25/2024 $24.00                 $24.00
          3/25/2024 GoDaddy.com                                                        Production:lnternet /Streaming/ Bandwidth 03/25/2024 $102.21           $102.21
          3/25/2024 H-E-B                                                              Facilities:Office Supplies/ Printing/ Copy 03/25/2024 $170.15          $170.15
          3/25/2024 PRITUNL PREMIUM SEATTLE WA                                         Production:lmages /Software/ Licenses 03/25/2024 $10.00                 $10.00
          3/25/2024 RUMBLEVIDEO TORONTO ON                                             Production:lmages /Software/ Licenses 03/25/2024 $100.00               $100.00
          3/25/2024 Twitter                                                            Advertising & Promotion:Television / Online Media 03/25/2024 $400      $400.10
          3/26/2024 PRIMO WATER TAMPA FL                                               Facilities:Office Supplies/ Printing/ Copy 03/26/2024 $58.40            $58.40
          3/26/2024 WEBFILE TAX payment DD 902/75239880 DD CCD                         Sales Tax Payable 03/26/2024 $2,799.56                                $2,799.56
          3/27/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/27/2024 $99.02            $99.02
          3/27/2024 Amazon                                                             Facilities:Office Supplies/ Printing/ Copy 03/27/2024 $25.97            $25.97
          3/27/2024 HEB ONLINE #108 855-803-0611 TX                                    Facilities:Office Supplies/ Printing/ Copy 03/27/2024 $372.40          $372.40
          3/27/2024 Home Depot                                                         Facilities:Office Supplies/ Printing/ Copy 03/27/2024 $32.42            $32.42
          3/27/2024 Twitter                                                            Advertising & Promotion:Television / Online Media 03/27/2024 $400      $400.00
          3/28/2024 ALEXANDER JONES #22-33553 DIP 043000096 PNC BANK, N.A. S.S. 02.2   Sales Settlement - Books and ESG                                     $16,444.23
          3/28/2024 FREE SPEECH OPS DEP PAY -SETT-CCACH DEP/PAY PPD                    Payables Clearing 03/28/2024 $327,313.66                            $327,313.66
          3/28/2024 FREE SPEECH OPS DEP PAY -SETT-CCACH DEP/PAY PPD                    Transfer: Payables Clearing 03/28/2024 $2,020.00                      $2,020.00
          3/28/2024 PRIMO WATER TAMPA FL                                               Facilities:Office Supplies/ Printing/ Copy 03/28/2024 $13.99            $13.99
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  FREE SPEECH SYSTEMS

FORM 42SC Exhibit D
Cash Disbursements - March 2024


           Date                                           Payee                                         Description                           Amount

            3/28/2024 Security Bank of Crawford                             Transfer: Payables Clearing 03/28/2024 $2,196.25                    $2,196.25
            3/28/2024 Shell                                                 Travel :Fuel /Tolls/ Repairs 03/28/2024 $44.95                        $44.95
            3/28/2024 Wal-Mart                                              Facilities:Office Supplies/ Printing/ Copy 03/28/2024 $26.19          $26.19
            3/29/2024 Amazon                                                Facilities:Office Supplies/ Printing/ Copy 03/29/2024 $413.90        $413.90
            3/29/2024 Amazon                                                Facilities:Office Supplies/ Printing/ Copy 03/29/2024 $226.78        $226.78
            3/29/2024 CHATGPT SUBSCRIP SAN FRANCISCO CA                     Production:lmages /Software/ Licenses 03/29/2024 $21.28               $21.28
            3/29/2024 Wal-Mart                                              Facilities:Office Supplies/ Printing/ Copy 03/29/2024 $127.04        $127.04
            3/29/2024 Wal-Mart                                              Facilities:Office Supplies/ Printing/ Copy 03/29/2024 $117.29        $117.29


                                                                                                                                             1,517,240.27




Cadence Bank Payroll Account

     3/5/2024         PAYROLL EXPENSE                                       Payroll Expense                                                    199,999.62
     3/19/2024        PAYROLL EXPENSE                                       Payroll Expense                                                    199,238.40

                                                                                                                                               399,238.02




                                                                            TOTAL CASH DISBURSEMENTS                                        1,916,478.29
         Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 13 of 30



  FREE SPEECH SYSTEMS

FORM 425C Exhibit E
Total Payables



As of March 31, 2024

                         From                                Amount                 Due Date


Trade AP

      Jonathon Wolfe                                               10,500.00     11/07/2023    (a)
      Leslie Muniz - V                                                  378.76   03/01/2024
      Cloudflare Inc                                                8,663.39     03/31/2024
      eCommerce CDN LLC                                             3,635.62     04/03/2024
      Sean Miller                                                   3,300.00     04/08/2024
      Novasors (Centrinex LLC)                                      6,230.55     04/10/2024
      Johnson Controls Fire Protection                              1,281.82     04/19/2024
      Specialized A C Mechanical                                    2,699.76     04/26/2024


                                                                   36,689.90


Inventory

      Yellow Emperor                                               93,750.00     12/13/2023    {b)
      Hi Tech Pharm                                              204,693.93      12/20/2023    (b)
      Hi Tech Pharm                                              174,375.00      02/14/2024    {b)
      Hi Tech Pharm                                                41,302.46     02/23/2024    (b)
      Ready Alliance                                               63,850.26     03/17/2024
      Third Coast Graphics                                          5,326.58     03/20/2024
      NutraSimple Products                                         57,375.00     03/26/2024    {b)
      Ready Alliance                                               33,725.94     03/31/2024


                                                                674,399.17


Legal I Consulting Fees

      Everlaw, Inc                                                  7,793.53     01/29/2024
      Melissa Haselden                                              5,219.00     01/31/2024
      The Reynal Law Firm PC                                       61,253.76     02/22/2024
      Everlaw, Inc                                                  7,793.53     02/29/2024
      O'Connor Wechsler PLLC                                       75,000.00     04/01/2024

                                                                157,059.82




      Total Accounts Payable                                    868,148.89


(a)   Disputed

{b)   Not due till product is ready to ship and has been manufactured
      Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 14 of 30



 FREE SPEECH SYSTEMS

FORM 425C Exhibit F
Total Receivables

     Free Speech Systems LLC does not have traditional receivables from our customers. Virtually all
     our transactions happen via our on-line store and aggregated by our third party credit card
     processor. There is a Jag between the transaction on the on-line store and the funding from
     our processor. Therefore, we don't have traditional customer receivables but have included
     our daily processor deposits that are unpaid as of the end of the month as receivables


As of March 31, 2024

           From                   Amount               Due Date

     Processor T                   51,254.31            3/19/2024
     Processor T                   72,077.64            3/20/2024
     Processor T                   76,702.18            3/21/2024
     Processor T                   65,174.31            3/22/2024
     Processor T                   58,273.18            3/23/2024
     Processor T                   58,057.54            3/24/2024
     Processor T                   72,179.68            3/25/2024
     Processor T                   68,716.11            3/26/2024
     Processor T                   78,910.39            3/27/2024
     Processor T                   71,509.26            3/28/2024
     Processor T                   64,699.19            3/29/2024
     Processor T                   45,282.84            3/30/2024
     Processor T                   39,893.80            3/31/2024
                                  822,730.43

FSS switched credit card processors in October in order to reduce our bankcard rate from 7.0% to
5.5%. The settlement period in the new contract is listed as 5-10 business days and it has
been averaging 12 days. This is why this Exhibit reflects 13 separate receivables. As of the date
of this MOR filing, all of the above AR has been collected by FSS.
                                                                  Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 15 of 30




                                      AXOS Deposits      AXOS Operating          A>COS Donations        AXOS Payroll         AXOS lnfowars           AXOS Legal             CADE Deposits        CADE Operating       CADE Donations         CADE Payroll          CADE Escrow         TOTAL
                                         #78877              # 78919                 # 78885              # 78927           # 78893 # 77838           # 78901                 #8-099-2              #8-100-8              # 8-101-6           # 8-102-4             # 8-103-2      All Accounts

March 1 to March 31

     Opening Balance                                                409.58                                                        85,772.78                                    1,544,822.50            83,253.05           110,103.66              5,000.00           565,887.38     2,395,248.95

          Cash Receipts                                                                                                                                                        2,242,580.43             4,524.41              4,259.83                                               2,251,364.67

          Cash Disbursements                                                                                                                                                                        (1,517,240.27)                              (399,238.02)                        (1,916,478.29)

          Net Cash Flow                                                                                                                                                        2,242,580.43        (1,512,715.86)             4,259.83          (399,238.02)                          334,886.38

          Transfers In                                                                                                                                                                              1,489,565.89                                 399,238.02                          1,888,803.91
          Transfers Out                                                                                                                                                       (1,888,803.91)                                                                                        (1,888,803.91)

     Cash on Hand                                                   409.58 /a}======                                              85,772.78 /a}======                          1,898,599.02    ~ 1 0 3.08                  114,363.49              5,000.00           565,887.38     2,730,135.33



                               fa)   On 10/26 AXOS bank closed our accounts for the second time In 30 days, despite assurances that they would work with FSS to provide an orderly transition. There was some confusion with the Info Wars account #78893 and the lnfoW
                                     Account #n838 with the multiple account closures and cashiers checks that were sent to the Austin office. The lnfoW address on file with AXOS was to a different office and as of 3/31 we were preparing a demand letter to AXOS bank to
                                     get the closing balance to the correct account We are not getting cooperation whh AXOS Bank and counsel has reached out to AXOS Bank to get It resolved.
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                                                                           30/0
     FREE SPEECH SYSTEMS LLC
     DEPOSIT ACCOUNT
     3019 ALVIN DEVANE BLVD STE 350
     AUSTIN TX 78741-7424                                        STATEMENT DATE
                                                                       03/31/24
                                                                 ACCOUNT NUMBER



 INFOLINE   1-888-797-7711
 * * * * * * * * * * CHECKING ACCOUNT SUMMARY            *    *** ** ** * *
 PREVIOUS BALANCE            l ·, 544,822. so                AVERAGE BALANCE
  +       34 CREDITS         2,242,580 . 43                     1,511,366
          10 DEBITS          1,888,803.91               YTD INTEREST PAID
  - SERVICE CHARGES                      .00                          .00
  +    INTEREST PAID                     .00
 ENDING BALANCE              1,898,599.02


 DAYS IN PERIOD                                                           31

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     DEPOSITS AND OTHER CREDITS
 DATE .... . .. .. . AMOUNT.TRANSACTION DESCRIPTION           CHK NO/ATM CD
 03/04           1,008 . 55 MY PILLOW INC      1270478020
                                                          CCD
 03/04        101,851.33
                                   IE22P:KKZJ
 03/05         84,044 . 34
                                   IGGGWVWA2
 03/06          37,870.00 ALEXANDER JONES 2233553
                            043000096 PNCBANK PITT
                            2436G3353DLXOVKG
 03/07           6,692.97 REHOBOTH MEDICAL 9111111101
                            707095721543FTF DIRECT DEP PPD
 03/08               132.43 MY STORE           1832821631
                                              PAYMENTS    CCD
 03/08

 03/11
                82,527.03

                70,782.90
                                   INOLZOX09    I :
                                   IV0690WJG
 03/ll         90,800 . 26
                                   IAMZRMOWY
 03/11       94,375.55
                                 ILGROGZYK
 03/13       72,396.46
                                IW86G7ARZ
 03/15        2,993 . 19 MY PILLOW INC           1270478020
                                                VENDOR PAY CCD
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                                                                     30/0
     FREE SPEECH SYSTEMS LLC                                  PAGE      2
     DEPOSIT ACCOUNT
     3019 ALVIN DEVANE BLVD STE 350
     AUSTIN TX 78741-7424                                 STATEMENT DATE
                                                                03/31/24
                                                          ACCOUNT NUMBER

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
      DEPOSITS AND OTHER CREDITS
 DATE . .. . ...... AMOUNT.TRANSACTION DESCRIPTION           CHK NO/ATM CD
 03/15          88,768.61
                                    I6N5R7BPW
 03/15          90,200 . 52
                                    IYZ6ER077
 03/18               648.89 TWITTER PAID FE.A 4270465600
                             ST- FlZ8L3MlF2T6 TRANSFER    CCD
 03/18          66,460.28
                                    IK8W2JGNY
 03/18          70,097.78
                                    IJRW7AP7R ~
 03/18          80,225.01
                                    ILGRE72KP
 03/18

 03/18
                88,417.52

                95,539.71
                                           ii g
                                    IJRW7APG5              I
                                    IZGN97K2J
 03/18          99,294.01
                                     IPLJW4ZWW
 03/19          89,222.48
                                     IW86EOPV4
 03/25          65,655.19
                                     IBPRRRPM6
 03/25          75,681.21
                                     IPLMMML4W
 03/25          75,837.71
                                     IPLMMMLSW
 03/25          76,731.60
                                     IBL666LZ5
 03/25          79,537 . 33
                                     I2VYYYVWY
 03/25          83,965 . 32
                                     I4NVVVN69
  03/25

  03/27
                89,213.28

                 66,596.25
                                            •
                                      I4NVVVNP9

                                      IW8W9WWAM
  03/28           1 , 313.73 MY PILLOW INC      1270478020
                                           VENDOR PAY CCD
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       FREE SPEECH SYSTEMS LLC                                PAGE      3
       DEPOSIT ACCOUNT
       3019 ALVIN DEVANE BLVD STE 350
       AUSTIN TX 78741-7424                               STATEMENT DATE
                                                                03/31/24
                                                          ACCOUNT NUMBER

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     DEPOSITS AND OTHER CREDITS
 DATE . .. .. .... . AMOUNT.TRANSACTION DESCRIPTION      CHK NO/ATM CD
 03/28          63,601 . 44
                                  IZGBLXV48
 03/28          69,458.89
                                  I5L9GR2V5
 03/28          80,638.66
                                  IMPKG06ZZ
     OTHER DEBITS
 DATE . ........ . AMOUNT.TRANSACTION DESCRIPTION        CHK NO/ATM CD
 03/05                89.09 ONLINE TRANSFER DEBIT 030524
                            CADENCE BANK     XFER DB   ONLINE
                            CUSTOMER TRANSFER TO   IM

 03/05        22,072.53 ONLINE TRANSFER DEBIT 030524
                        CADENCE BANK     XFER DB   ONLINE
                        CUSTOMER TRANSFER TO   IM

 03/05       129,227.16 ONLINE TRANSFER DEBIT 030524
                        CADENCE BANK     XFER DB   ONLINE
                        CUSTOMER TRANSFER TO   IM

 03/05      . 199,999.62 ONLINE TRANSFER DEBIT 030524
                         CADENCE BANK     XFER DB   ONLINE
                         CUSTOMER TRANSFER TO   IM

 03/07       341,669.05 ONLINE TRANSFER DEBIT 030724
                        CADENCE BANK     XFER DB   ONLINE
                        CUSTOMER TRANSFER TO   IM

 03/14       100,000 . 00 ONLINE TRANSFER DEBIT 031424
                          CADENCE BANK     XFER DB   ONLINE
                          CUSTOMER TRANSFER TO   IM

 03/14       326,905.42 ONLINE TRANSFER DEBIT 031424
                        CADENCE BANK     XFER DB   ONLINE
                        CUSTOMER TRANSFER TO   IM

    03/19   I 199,238.40 ONLINE TRANSFER DEBIT   031~24
                        CADENCE :BANI{   XFER DB      ONLINE
                        CUSTOMER TRANSFER TO     IM
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                                                                   30/0
    FREE SPEECH SYSTEMS LLC                               PAGE        4
    DEPOSIT ACCOUNT
    3019 ALVIN DEVANE BLVD STE 350
    AUSTIN TX 78741-7424                              STATEMENT DATE
                                                            03/31/24
                                                      ACCOUNT NUMBER

* * *******CHECKING ACCOUNT TRANSACTIONS*********
    OTHER DEBITS
DATE ..... . .. . . AMOUNT.TRANSACTION DESCRIPTION    CHK NO/ATM CD
03/20        221,628.50 ONLINE TRANSFER DEBIT 032024
                           CADENCE BANK     XFER DB ONLINE
                       CUSTOMER TRANSFER TO    IM

03/28     347,974.14 ONLINE TRANSFER DEBIT 032824
                     CADENCE BANK     XFER DB   ONLINE
                     CUSTOMER TRANSFER TO   IM

* * * * *******DAILY BALANCE SUMMARY * * * * * * * * * * *
  DATE ....... BALANCE DATE . . . . .. . BALANCE DATE ....... BALANCE
02/29   1544822.50     03/11   1421850 . 41   03/19   1639971.05
03/04   1647682.38     03/13   1494246.87     03/20   1418342.55
03/05   1380338.32     03/14   1067341.45     03/25   1964964.19
03/06   1418208.32     03/15   1249303.77     03/27   2031560.44
03/07   1083232 . 24   03/18   1749986.97     03/28   1898599.02
03/08   1165891.70
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                                                                   30/2
     FREE SPEECH SYSTEMS LLC
     OPERATIONS ACCOUNT
     BANKRUPTCY DEBTOR IN PROCESS CH 11
     CASE 22-60043                                      STATEMENT DATE
     3019 ALVIN DEVANE BLVD STE 350                           03/31/24
     AUSTIN TX 78741-7424                               ACCOUNT NUMBER



 INFOLINE 1-888-797-7711
 * * * * * * * * * * CHECKING ACCOUNT SUMMARY * * * * * * * * * *
 PREVIOUS BALANCE           83,253.05          AVERAGE BALANCE
  +       15 CREDITS     1,505,748.03                   68,752
         170 DEBITS      1,528,894 . 00      YTD INTEREST PAID
     SERVICE CHARGES             4.00                       .00
  +    INTEREST PAID               .00
 ENDING BALANCE             60,103.08


 DAYS IN PERIOD                                                   31

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     DEPOSITS AND OTHER CREDITS
 DATE .......... AMOUNT,TRANSACTION DESCRIPTION        CHK NO/ATM CD
 03/04        2 , 989.00 REV UNAUTHORIZED ACH TRANSACTION
 03/05          I 89. 09 ONLINE TRANSFER CREDIT 030524
                         CADENCE BANK     XFER CR    ONLINE
                         CUSTOMER TRANSFER FROM IM

 03/05    , 22 , 072 . 53 ONLINE TRANSFER CREDIT 030524
                          CADENCE BANK     XFER CR    ONLINE
                          CUSTOMER TRANSFER FROM IM

 03/05   . 129,227.16 ONLINE TRANSFER CREDIT 030524
                      CADENCE BANK     XFER CR    ONLINE
                      CUSTOMER TRANSFER FROM IM

 03/06       3 , 629.78 REV UNAUTHORIZED ACH TRANSACTION
 03/07       1 , 043.73 REV UNAUTHORIZED ACH TRANSACTION
 03/07       2,926.90 REV UNAUTHORIZED ACH TRANSACTION
 03/07     341,669.05 ONLINE TRANSFER CREDIT 030724
                        CADENCE BANK     XFER CR    ONLINE
                        CUSTOMER TRANSFER FROM IM

 03/13           496. 73 REV UNAUTHORIZ.ED ACH TRANSACTION
 03/13           571.59 REV UNAUTHORIZED ACH TRANSACTI ON
 03/14   1 100 , 000.00 ONLINE TRANSFER CREDIT 031424
                      C1\.DJrN C X:   lUU\DC         ONLIN.li'.

                      CUSTOMER TRANSFER FROM IM
      Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 21 of 30

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      FREE SPEECH SYSTEMS LLC                                            PAGE       2
      OPERATIONS ACCOUNT
      BANRRUPTCY DEBTOR IN PROCESS CH 11
      CASE 22-60043                                                 STATEMENT DATE
      3019 ALVIN DEVANE BLVD STE 350                                      03/31/24
      AUSTIN TX 78741-7424                                          ACCOUNT NUMBER

 * * ** * ****CHECKING ACCOUNT TRANSACTIONS* * * * * * * * *
     DEPOSITS AND OTHER CREDITS
 DATE .. ... . .. . . AMOUNT.TRANSACTION DESCRIPTION     CHK NO/ATM CD
 03/14      1 326,905.42 ONLINE TRANSFER CREDIT 031424
                             CADENCE BANK     XFER CR  ONLINE
                             CUSTOMER TRANSFER FROM IM

 03/20      . 221,628.50 ONLINE TRANSFER CREDIT 032024
                         CADENCE BANK     XFER CR    ONLINE
                         CUSTOMER TRANSFER FROM IM

 03/21      1   4,524 . 41 DEPOSIT
 03/28      , 347,974.14 ONLINE TRANSFER CREDIT 032824
                           CADENCE BANK     XFER CR  ONLINE
                           CUSTOMER TRANSFER FROM IM

     CHECKS
 DATE .. CHECK NO ..... . .. . .. AMOUNT        DATE . . CHECK NO . .. ........ AMOUNT
 03/14        99180091*            61,090.61     03/13     99204719*        11,244 . 10
     OTHER DEBITS
 DATE . . . . . . .. . . AMOUNT.TRANSACTION DESCRIPTION               CHK NO/ATM CD
 03/01                    42.22 ENVATO               61383766284        UT
 03/01                    57 . 36 AMAZON . COM*RN4VF6JOO SEATTLE            WA
 03/01                    62. 7 7 AMAZON . COM*RZ1N850Pl SEATTLE            WA
 03/01                    78.00 MURF.AI              SALT LAKE CIT UT
 03/01                   204 . 54 DNH*GODADDY.COM          TEMPE            AZ
 03/01              2,989 . 00 ADDSHOPPERSINC        3383693141
                                                    WEBPAYMENT WEB
 03/04                     9. 77 CLOUDFLARE          SAN FRANCI SCO CA
 03/04                    27.04 AMZN Mktp US*RZ9 Arnzn . com/bill WA
 03/04                    49.00 RESTREAM, INC.       AUSTIN             TX
 03/04                    85.21 Amazon web servi aws.amazon.co WA
 03/04                   111. 71 AMZN Mktp US*RZ8 Arnzn . com/bill WA
 03/04                   133.83 H-E-B #091                 AUSTIN           TX
 03/04                   159 . 48 ZOOM.US 888- 799- SAN JOSE            CA
 03/04                   174.60 CLOUDFLARE           SAN FRANCISCO CA
 03/04                   255.84 VULTR BY CONSTAN VULTR . COM            NJ
 03/04                   294.68 H-E-B #373                 ROUND ROCK       TX
 03/04                   357.20 AMZN Mktp US*RZl Arnzn . com/bill WA
 03/04                   480.63 AMZN Mktp US*RZ9 Arnzn.com/bill WA
 03/04              3 , 611 . 20 MONC30DBCLOUO IT3 l?ALO ALTO           CA
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     FREE SPEECH SYSTEMS LLC                                   PAGE      3
     OPERATIONS ACCOUNT
     BANKRUPTCY DEBTOR IN PROCESS CH 11
     CASE 22-60043                                        STATEMENT DATE
     3019 ALVIN DEVANE BLVD STE 350                             03/31/24
     AUSTIN TX 78741-7424                                 ACCOUNT NUMBER

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     OTHER DEBITS
 DATE .... ... . . . AMOUNT . TRANSACTION DESCRIPTION         CHK NO/ATM CD
 03/04               134.32 LATHEM TIME CORP 2580522471
                              1439874         PAYMENT     PPD
 03/04               221.00 DIRECTV            9DTVDTV
                              083741384       PAYMENT     PPD
 03/04          2,808.00 THE HARTFORD          9942902727
                              12649598        INS PMT CL CCD
 03/05                89.09 ALEXANDER JONES #22-33553 DIP

                         DIFF. BOOKS 1
 03/05       22,072 . 53 ALEXANDER JONES #22-33553 DIP

                         DIFF BOOKS 2
 03/05       35,000 . 00 REYNAL LAW FIRM
                         113025723 STELLAR BANK
                        LEGAL
 03/05           10.00 FDCSERVERSN        3124236675     FL
 03/05          418.09 NRI*NEW RELIC      888-643-8776 CA
 03/05          647.09 PAYPAL *FLOKINET 35314369001      DEU
 03/05        3,629.78 CITY OF AUSTIN T 5746000085
                         5376658312      PAYMENT     PPD
 03/05       94,227.16 FREE SPEECH OPS 1261510005
                         -SETT-CCACH     DEP/PAY     PPD
 03/06           19.37 AMAZON . COM*RN8YF5TT2 SEATTLE        WA
 03/06           21 . 14 WAL-MART #1253       AUSTIN         TX
 03/06           26 . 13 TXTAG 888 468 98 AUSTIN         TX
 03/06           38.72 AMZN Mktp US*RN2 Amzn.com/bill WA
 03/06           56.05 AMZN Mktp US*RZ6 Amzn.com/bill WA
 03/06           85. 8 8 AMZN Mktp US*RN9 Amzn.com/bill WA
 03/06          245 . 81 AMZN Mktp US*RZ2 Amzn.com/bill WA
 03/06        1,043.73 TRAVELERS          4069827001
                         BPITBI157218694 BUS INSUR WEB
 03/06        2,926.90 CITY OF AUSTIN T 5746000085
                         3756575312      PAYMENT    WEB
 03/07       21,257 . 21 ALEXANDER JONES #22-33553 DIP

                         s.s 03 . 07
 03/07           32.46 AMZN Mktp US*RZ4 Amzn . com/bill WA
 03/07          159.57 AMZN Mktp US*RN2 Amzn.com/bil.l WA
 03/07          303.19 AMZN Mktp US*R69 Amzn.com/bill WA
 03/07          303 . 89 Name.com, Inc  7202492374      co
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     FREE SPEECH SYSTEMS LLC                                  PAGE      4
     OPERATIONS ACCOUNT
     BANKRUPTCY DEBTOR IN PROCESS CH 11
     CASE 22-60043                                       STATEMENT DATE
     3019 ALVIN DEVANE BLVD STE 350                            03/31/24
     AUSTIN TX 78741-7424                                ACCOUNT NUMBER

 * * *******CHECKING ACCOUNT TRANSACTIONS* * * * * * * * *
     OTHER DEBITS
 DATE .......... AMOUNT.TRANSACTION DESCRIPTION             CHK NO/ATM CD
 03/07             22.29 ADT                3931064579
                           953169174       PAYMENT      PPD
 03/07             75.42 ADT                3931064579
                           953169174       PAYMENT      PPD
 03/07            111.24 ADT                3931064579
                           953169174       PAYMENT      PPD
 03/07            138.15 ADT                3931064579
                           953169174       PAYMENT      PPD
 03/07            904.81 ADT                3931064579
                           953169174       PAYMENT      PPD
 03/07        1,538.22 ADT                  3931064579
                           953169174       PAYMENT      PPD
 03/07       15,177.57 FREE SPEECH OPS 1261510005
                           -SETT-CCACH     DEP/PAY      PPD
 03/07      305,234.27 FREE SPEECH OPS 1261510005
                           -SETT- CCACH    DEP/PAY      PPD
 03/11             80.94 AMZN Mktp US*R63 Arnzn . com/bill WA
 03/11             85.28 ATLASSIAN          SAN FRANCISCO CA
 03/11             87.14 AMZN Mktp US*RN8 Arnzn . com/bill WA
 03/11            213.20 INTUIT 18004INTUIT MOUNTAIN VIEW CA
 03/11            380.95 AMZN Mktp US*RN6 Arnzn . com/bill WA
 03/12             82.71 CLOUDFLARE         SAN FRANCISCO CA
 03/12             93.62 AMAZON.COM*R660Q7ZC2 SEATTLE            WA
 03/12        1,185.25 THE RANGE AT AUS AUSTIN               TX
 03/12        1,300.00 ASTOUND PWRD BY 844-357-0942 TX
 03/12        1,679.46 SPECIALIZED AC MECHA AUSTIN               TX
 03/12        3,111 . 77 GO RENTALS SRQRE SARASOTA           FL
 03/12            496.73 VERIZON WIRELESS 6223344794
                           072148064500001 PAYMENTS     CCD
 03/12            571.59 VERIZON WIRELESS 6223344794
                           072148064500003 PAYMENTS     CCD
 03/13             53 . 02 AMZN Mktp US*R63 Arnzn . com/bill WA
 03/13             70.33 AMZN Mktp US*RNO Amzn.com/bill WA
 03/13             89 . 82 AMZN Mktp US*RN4 Amzn.corn/bill WA
 03/13            100.95 H-E-B #373              ROUND ROCK      TX
 03/13            288.40 GOOGLE *FIBER 2FzL86 Mountain View CA
 03/14       20 , 454.28 ALEXANDER JONES #22-33553 DIP

                       ss 03 . 14
 03/14           10.81 AMZN Mktp US*RN7 Arnzn . com/bill WA
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          FREE SPEECH SYSTEMS LLC                                      PAGE      5
          OPERATIONS ACCOUNT
          BANKRUPTCY DEBTOR IN PROCESS CH 11
          CASE 22-60043                                        STATEMENT DATE
          3019 ALVIN DEVANE BLVD STE 350                             03/31/24
          AUSTIN TX 78741-7424                                 ACCOUNT NUMBER

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     OTHER DEBITS
 DATE ..... . .. . . AMOUNT.TRANSACTION DESCRIPTION             CHK NO/ATM CD
 03/14                69.78   RMA  TOLL          833- 762- 8655  CA
 03/14               176.43 AMZN Mktp US*R67 Amzn . com/bill WA
 03/14               429 . 20 Amazon . com*R65C3 Amzn.com/bill WA
 03/14               571.19 FDCSERVERSN          3124236675       FL
 03/14               131.68 SPECTRUM             0000358635
                              8306642           SPECTRUM     PPD
 03/14         55,382.50 FREE SPEECH OPS 1261510005
                              -SETT-CCACH       DEP/PAY      PPD
 03/14       251,068 . 64 FREE SPEECH OPS 1261510005
                              - SETT-CCACH      DEP/PAY      PPD
 03/15                23 . 00 ATM  2508  E RIVERSIDE  DR   AUSTIN        TX
 03/15               403.00 ATM 2508 E RIVERSIDE DR AUSTIN               TX
 03/15                31.38 AMZN Mktp US*RH3 Amzn.com/bill WA
 03/15                39.11 CIRCLE K #2740967         AUSTIN         TX
 03/15               150.47 AMAZON.COM*R648V0882 SEATTLE             WA
 03/15               153 . 89 BACKBLAZE INC      SAN MATEO        CA
 03/15               266.50 NRI*NEW RELIC        888-643-8776 CA
 03/15               738.58 PRIMO WATER          TAMPA            FL
 03/15           6,322.65 CITY OF AUSTIN T 5746000085
                              5424584569        PAYMENT      WEB
 03/15                 2.00 ATM W/D FEE
 03/15                 2 . 00 ATM W/D FEE
 03/18                 7 . 24 Amazon.com*R63DF Amzn.com/bill WA
 03/18                10 . 64 DNH*GODADDY.COM TEMPE              AZ
 03/18                16.23 FS *FREESCOUT        SANTA BARBARA CA
 03/18                17.00 IONOS INC.           CHESTERBROOK PA
 03/18                17.31 WEB*HOSTGATOR.CO BURLINGTON          MA
 03/18                21.28 CHATGPT SUBSCRIP SAN FRANCISCO CA
 03/18                26 . 76 Amazon.com*R61LG Amzn . com/bill WA
 03/18                33.85 AMZN Mktp US*R60 Amzn.com/bill WA
 03/18                39.26 AMAZON . COM*R694D33Vl SEATTLE           WA
 03/18                39.99 GROKABILITY: SNI SAN DIEGO            CA
 03/18                66.44 AMZN Mktp US*RH9 Amzn.com/bill WA
 03/18                70 . 04 AMZN Mktp US*R60 Amzn . com/bill WA
 03/18                71 . 79 AMZN Mktp US*RH5 Amzn.com/bill WA
 03/18                91. 76 AMZN Mktp US*R61 Amzn . com/bill WA
 03/18               109.48 INTUIT *QBooks 1 CL.INTUIT.COM CA
    03 / 1 8        301 . 19 AMZN Mlc.tp US*RB6 A.m z n. com/bill WA
    03/18           354 . 97 HEB ONLINE #108 855-803-0611        TX
    03/18           496.73 VZWRLSS*MY VZ VB 800-922-0204         FL
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       FREE SPEECH SYSTEMS LLC                                   PAGE      6
       OPERATIONS ACCOUNT
       BANKRUPTCY DEBTOR IN PROCESS CH 11
       CASE 22 - 60043                                    STATEMENT DATE
       3019 ALVIN DEVANE BLVD STE 350                           03/31/24
       AUSTIN TX 78741-7424                               ACCOUNT NUMBER

 * * * * * * * * * CHECKING ACCOUNT TRANSACTIONS * * * * * .* * * *
     OTHER DEBITS
 DATE .. . ..... .. AMOUNT.TRANSACTION DESCRIPTION         CHK NO/ATM CD
 03/18              571. 59 VZWRLSS*MY VZ VB 800-922- 0204 FL
 03/18          2,797.26 RV LAND              KYLE          TX
 03/18              306.34   ORKIN            0000427522
                             9399497         ORKIN PEST WEB
 03/19               79.61 H-E-B #091             AUSTIN        TX
 03/19              215.35 SAMSCLUB #6259     ROUND ROCK    TX
 03/19              400 . 00 Twitter Online A San Francisco CA
 03/19              680.89 www.anydesk . com Stuttgart      DEU
 03/20         22,400.55     ALEXANDER JONES #22-33553 DIP

                          ss 03 . 20.24
 03/20            16 . 23 AMZN Mktp US*RH3 Amzn.corn/bill WA
 03/20            54 . 55 AMZN Mktp US*R69 Amzn.corn/bill WA
 03/20           179.76 SAMS CLUB #4720 AUSTIN              TX
 03/20           545 . 34 FDCSERVERSN      3124236675       FL
 03/20         1,627.57 PRIMO WATER        TAMPA            FL
 03/20         4,289.35 ADOBE *ADOBE       4085366000       CA
 03/20         7,807.50 FREE SPEECH OPS 1261510005
                          - SETT-CCACH    DEP/PAY      PPD
 03/20       188,420 . 45 FREE SPEECH OPS 1261510005
                          -SETT-CCACH     DEP/PAY      PPD
 03/21            51.95 AMZN Mktp US*R65 Amzn.corn/bill WA
 03/21            89.78 SAMS CLUB #4720        Austin             TX
 0 3/21          899 . 00 AWIO WEB SERVICE CARY             NC
 03/21           920.67 TST* RUDYS COUNT Austin             TX
 03/21         1,199 . 25 CLOUDFLARE       SAN FRANCISCO CA
 03/22            21.04 TST* CABO BOBS B 512-432-1111 TX
 03/22            40.00 VERCEL PRO         COVINA           CA
 03/22           114.67 DNH*GODADDY.COM TEMPE               AZ
 03/22           215 . 43 ONLINE STORE SAL 361-816-4113 TX
 03/22           215.43 ONLINE STORE SAL 361-816-4113 TX
 03/22           215.43 ONLINE STORE SAL 361-816-4113 TX
 03/22           317.30 IRON MOUNTAIN      BOSTON           MA
 03/22           400.02 Twitter Online A San Francisco CA
 03/22           442.51 TEXASGASSERVICE 8007002443          OK
 03/25            10 . 00 PRITUNL PREMIUM SEATTLE           WA
 03/25            21 . 64 AMZN Mktp US*RAO Amzn . corn/bill WA
    03/25         24 . 00 OITffiJB,   I NC.   SAN FRANCISCO CA
    03/25         49. 77 AMZN Mktp US*RA8 Arnzn.com/bill WA
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     FREE SPEECH SYSTEMS LLC                                 PAGE      7
     OPERATIONS ACCOUNT
     BANKRUPTCY DEBTOR IN PROCESS CH 11
     CASE 22-60043                                       STATEMENT DATE
     3019 ALVIN DEVANE BLVD STE 350                            03/31/24
     AUSTIN TX 78741-7424                                ACCOUNT NUMBER

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     OTHER DEBITS
 DATE .......... AMOUNT.TRANSACTION DESCRIPTION             CHK NO/ATM CD
 03/25            51.93 AMAZON.COM*RA3X36XFO SEATTLE             WA
 03/25            72 . 44 AMZN Mktp US*RA.8 Arnzn . com/bill WA
 03/25            93.08 AMZN Mktp US*RA9 Arnzn.com/bill WA
 03/25           100.00 RUMBLEVIDEO         TORONTO          ON
 03/25           102 . 21 DNH*GODADDY.COM TEMPE              AZ
 03/25           170.15 H-E-B #091               AUSTIN          TX
 03/25           226.94 AMZN Mktp US*RA4 Amzn . com/bill WA
 03/25           400.10 Twitter Online A San Francisco CA
 03/25           599. 51 ATT                9864031004
                          378505003EPAYK PAYMENT        PPD
 03/26            58.40 PRIMO WATER         TAMPA            FL
 03/26        2,799.56 WEBFILE TAX PYMT 2146000311
                          902/75239880     DD           CCD
 03/27            25 . 97 AMZN Mktp US*HEO Amzn.com/bill WA
 03/27            32.42 NST THE HOME DEPOT O AUSTIN              TX
 03/27            99 . 02 AMZN Mktp US*RH3 Amzn.com/bill WA
 03/27           372.40 HEB ONLINE #108 855-803-0611 TX
 03/27           400.00 Twitter Online A San Francisco CA
 03/28        2,196 . 25 SECURITY BANK OF CRAWFORD
                          111010170 TIB THE INDEPENDEN
                          RV
 03/28       16,444.23 ALEXANDER JONES #22-33553 DIP

                         S.S . 02.28
 03/28           13.99 PRIMO WATER        TAMPA         FL
 03/28           26 . 19 WAL Wal-Mart Super 3 AUSTIN          TX
 03/28           44 . 95 SHELL SERVICES       AUSTIN          TX
 03/28        2,020.00 FREE SPEECH OPS 1261510005
                         -SETT-CCACH     DEP/PAY    PPD
 03/28      327,313.66 FREE SPEECH OPS 1261510005
                         -SETT-CCACH     DEP/PAY    PPD
 03/29           21.28 CHATGPT SUBSCRIP SAN FRANCISCO CA
 03/29          117.29 WM SUPERCENTER #3569 AUSTIN            TX
 03/29          127. 04 WAL Wal-Ma.r t Super O AUSTIN         TX
 03/29          226.78 AMZN Mktp US*RAO Amzn.com/bill WA
 03/29          413.90 AMZN Mktp US*W74 Amzn.com/bill WA
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            FREE SPEECH SYSTEMS LLC                                  PAGE        8
            OPERATIONS ACCOUNT
            BANKRUPTCY DEBTOR IN PROCESS CH 11
            CASE 22-60043                                       STATEMENT DATE
            3019 ALVIN DEVANE BLVD STE 350                            03/31/24
            AUSTIN TX 78741-7424                                ACCOUNT NUMBER

    * * * * *******DAILY BALANCE SUMMARY***********
      DATE . . . .... BALANCE   DATE ..... . . BALANCE   DATE ...... . BALANCE
    02/29         83253.05    03/12      59368 . 49    03/21      68785.87
    03/01         79819.16    03/13      48590.19      03/22      66804.04
    03/04         73894.65    03/14      86110.49      03/25      64882.27
    03/05         69189.69    03/15      77977.91      03/26      62024.31
    03/06         68355.74    03/18      72510 . 76    03/27      61094.50
    03/07         68737.13    03/19      71134.91      03/28      61009.37
    03/11         67889.62    03/20      67422 . 11    03/29      60103 . 08
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        FREE SPEECH SYSTEMS LLC
        DONATIONS ACCOUNT
        3019 ALVIN DEVANE BLVD STE 350
        AUSTIN TX 78741-7424                                   STATEMENT DATE
                                                                     03/31/24
                                                               ACCOUNT NUMBER



 INFOLI NE    1-888-797-7711
 * * * * * * * * * * CHECKING ACCOUNT SUMMARY            * * * * * * * * * *
 PREVIOUS BALANCE               110,103 . 66             AVERAGE BALANCE
  +        1 CREDITS              5,259.83                       111,066
           1 DEBITS               1,000 . 00           YTD INTEREST PAID
     SERVICE CHARGES                    .00                          .00
  +    INTEREST PAID                    . 00
 ENDING BALANCE                 114,363 . 49


 DAYS IN PERIOD                                                           31

 * * *******CHECKING ACCOUNT TRANSACTIONS*********
     DEPOSITS AND OTHER CREDITS
 DATE . . ........ AMOUNT.TRANSACTION DESCRIPTION                  CHK NO/ATM CD
 03/21            5,259.83 DEPOSIT
     OTHER DEBITS
 DATE . .. ... .. . . AMOUNT.TRANSACTION DESCRIPTION               CHK NO/ATM CD
 03/04            1,000.00 RETURNED DEP ITEM
 * * * * *******DAILY BALANCE SUMMARY***********
   DATE . . .. . .. BALANCE    DATE . .. . . . . BALANCE   DATE ....... BALANCE
 02/29       110103 . 66     03/04       109103.66       03/21     114363.49
    Case 22-60043 Document 893 Filed in TXSB on 04/20/24 Page 29 of 30




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    FREE SPEECH SYSTEMS LLC
    PAYROLL ACCOUNT
    3019 ALVIN DEVANE BLVD STE 350
    AUSTIN TX 78741-7424                                  STATEMENT DATE
                                                                03/31/24
                                                          ACCOUNT NUMBER



INFOLINE l-888-797-7711
* * * * * * * * * * CHECKING ACCOUNT SUMMARY * * * * * * * * * *
PREVIOUS BALANCE            5,000.00          AVERAGE BALANCE
 +        2 CREDITS       399,238.02                    5,000
          2 DEBITS        399,238.02        YTD INTEREST PAID
    SERVICE CHARGES              .DO                       .00
 +    INTEREST PAID              . DO
ENDING BALANCE              5,000.00


DAYS IN PERIOD                                                      31

* * *******CHECKING ACCOUNT TRANSACTIONS*********
    DEPOSITS AND OTHER CREDITS
DATE .......... AMOUNT.TRANSACTION DESCRIPTION      CHK NO/ATM CD
03/05      199,999.62 ONLINE TRANSFER CREDIT 030524
                       CADENCE BANK     XFER CR   ONLINE
                       CUSTOMER TRANSFER FROM IM

03/19      199,238.40 ONLINE TRANSFER CREDIT 031924
                      CADENCE BANK     XFER CR    ONLINE
                      CUSTOMER TRANSFER FROM IM

    OTHER DEBITS
DATE .......... AMOUNT.TRANSACTION DESCRIPTION            CHK NO/ATM CD
03/05      199,999 . 62 MMMH & COMPANY
                        084201278 CADENCE BANK
                        PR 03.05.24
03/19      199,238.40 MMMH & COMPANY
                         084201278 CADENCE BANK
                         PR 03.19
* * * * *******DAILY BALANCE StTh:IMARY * * * * * * * * * * *
  DATE .... . .. BALANCE   DATE ... . ... BALANCE   DATE . . ..... BALANCE
02/29         5000.00    03/05         5000 . 00  03/19         5000.00
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        FREE SPEECH SYSTEMS LLC
        ESCROW ACCOUNT
        3019 ALVIN DEVANE BLVD STE 350
        AUSTIN TX 78741-7424                           STATEMENT DATE
                                                             03/31/24
                                                       ACCOUNT NUMBER



 INFOLINE 1-888-797- 7711
 * * * * * * * * * * CHECKING ACCOUNT SUMMARY * * * * * * * * * *
 PREVIOUS BALANCE          565,887 . 38        AVERAGE BALANCE
  +        0 CREDITS               .00                 565,887
           0 DEBITS                .00       YTD INTEREST PAID
     SERVICE CHARGES               .00                     .00
  +    INTEREST PAID               .00
 ENDING BALANCE            565,887.38


 DAYS IN PERIOD                                                  31

 * * * * * * * * * * * DAILY BALANCE SUMMARY***********
   DATE ..... . . BALANCE DATE . . . .... BALANCE DATE . ...... BALANCE
 02/29     565887.38
